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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF PUERTO RICO

 In re:

 EDGARDO NICOLAS MARTINEZ PEREZ                             Case No. 16-05934
                                                            Chapter 13


 Debtors

                           OBJECTION TO PROOF OF CLAIM 2
                       FILED BY JEFFERSON CAPITAL SYSTEMS LLC

 TO THE HONORABLE COURT:

        COMES NOW Debtor, represented by undersigned counsel, and very respectfully alleges and

 prays as follows:

        1.    On July 27, 2016, the Debtor filed a Voluntary Petition under Chapter 13 of the

 Bankruptcy Code.

        2.    On August 2, 2016, Oriental Bank filed Proof of Claim 2 as an unsecured claim in the

 amount of $17,372.34 (hereinafter referred as the “POC”). Thereafter, on June 26, 2017, Oriental

 Bank transferred the POC to Jefferson Capital Systems LLC. See, Docket No. 90. Debtor hereby

 objects to the POC and in support thereof states as follows:

        3.    The POC is a credit card and is based on writing. As such, the POC is in violation of

 FRBP 3001 (c)(1) in as much as it was not accompanying by copy of the writing. Additionally, the

 POC is in violation of 11 USC § 502 (a) & (b)(1).

        4.    For the foregoing is evident that the POC is facially defective since is not

 accompanied by the required minimum documentation.

        5.    Accordingly, the Debtor respectfully request from this Honorable Court to disallow the

 POC.

        WHEREFORE, Debtor objects to the POC as filed and respectfully requests from this

 Honorable Court that in the event no additional documentation is provided, the POC be disallowed

 in its entirety.
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 NOTICE: Within thirty (30) days after service as evidenced by the certification, and an additional
 three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
 whom this paper has been served, or any other party to the action who objects to the relief sought
 herein, shall serve and file an objection or other appropriate response to this paper with the Clerk’s
 office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or other response
 is filed within the time allowed herein, the objection will be deemed unopposed and may be granted
 unless: (1) the requested relief is forbidden by law; (2) the requested relief is against public policy;
 or (3) in the opinion of the court, the interest of justice requires otherwise. If a timely opposition is
 filed, the court will schedule a hearing as a contested matter.

 CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed the
 above document with the Clerk of the Court using the CM/ECF system, which will send notification,
 upon information and belief, of such filing to the following: Chapter 13 Trustee and the United States
 Trustee and to all CM/ECF participants. We also certify that this same date we have mailed by United
 States Postal Service the document to:

 JEFFERSON CAPITAL SYSTEMS LLC
 PO BOX 7999
 ST. CLOUD, MN 56302-9617

 JEFFERSON CAPITAL SYSTEMS LLC
 PO BOX 772813
 CHICAGO, IL 60677-2813

      RESPECTFULLY SUBMITTED
      In San Juan, Puerto Rico this 28th day of August, 2018.



                                                       /s/ William Rivera Vélez
                                                       William Rivera Vélez
                                                       USDC No. 229408
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